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The Honorable James P. Donohue

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,

Vv.
ROBEL KELETA GOITOM,
Defendant.

CASE NO. MIAIT- ISS

COMPLAINT for VIOLATION
18 U.S.C. §§ 922(g)(1)

BEFORE Chief United States Magistrate Judge James P. Donohue, United States

Courthouse, Seattle, Washington.

The undersigned complainant, Catherine Cole, Special Agent, Bureau of Tobacco,

Firearms, and Explosives, being duly sworn states:

COUNT ONE

(Felon in Possession of a Firearm)

On or about February 22, 2017, in the City of Seattle, within the Western District

of Washington, ROBEL KELETA GOITOM, having been convicted of the following

crime punishable by a term of imprisonment exceeding one year, to wit:

a) Assault in the Third Degree, in Snohomish County Superior Court, dated on or
about February 12, 2015, under cause number 14-1-01486-9; —

Complaint: ROBEL KELETA GOITOM - 1

UNITED STATES ATTORNEY
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did knowingly possess, in and affecting interstate and foreign commerce, the following
firearm, to wit: a 9mm Springfield Armory XDM-9 semi-automatic handgun, bearing
serial number MG753603, which had been shipped and transported in interstate and
foreign commerce.

All in violation of Title 18, United States Code, Section 922(g)(1).
The undersigned, Catherine Cole, complainant being duly sworn states:

1. I am a Special Agent (SA) with the United States Department of Justice —
(DOJ), Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), and have been so

employed since December 29, 2013. I am an “investigative or law enforcement officer of

| the United States” within the meaning of Title 18, United States Code, Section 2510(7),

that is, an officer of the United States who is empowered by law to conduct investigations
of, and to make arrests for, offenses enumerated in Title 18, United States Code, Section
2516. Iam currently assigned to the Seattle Group IV Field Office (Intelligence Group)
where I am further assigned to the Puget Sound Regional Crime Gun Task Force
(PSRCGTEF).

2. I am a graduate of the Federal Law Enforcement Training Center, Criminal
Investigator Training Program, and the ATF National Academy, both in Glynco, Georgia.
During this 27-week training, I received instruction relating to the investigation of
firearm and explosives violations. Following this training, I received one year of on-the-
job training in the field. Prior to this employment, I obtained bachelors’ degrees in
Political Science, with a concentration on international relations, and French from Tulane
University in New Orleans, Louisiana, and a master’s degree in Natural Resources Law
Studies from the University of Denver College of Law in Denver, Colorado. During my
career with ATF, I have had training and experience investigating violent crimes against
persons and crimes against the government. I have been involved in numerous
investigations involving the unlawful purchase and/or unlawful possession of firearms
and explosives. I have also participated in and executed search and seizure warrants with

respect to the illegal possession of firearms and explosives.

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700 STEWART STREET, SUITE

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SEATTLE, WASHINGTON 98101
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3. This affidavit is made based upon my personal knowledge, training,
experience and investigation, as well as upon information provided to me and my review
of reports prepared by other law enforcement personnel. This affidavit is made for the |
purpose of establishing probable cause for this Complaint and thus does not include each
and every fact known to me concerning this investigation.

4. This affidavit is made in support of a complaint against ROBEL KELETA
GOITOM for being a Felon in Possession of a Firearm, in violation of Title 18, United
States Code, Section 922(g)(1).

I. Goitom’s Possession of a Firearm on February 22, 2017.

5. On February 22, 2017, around 1:00 a.m., a citizen called 9-1-1 to report an
erratic driver traveling northbound on Interstate-5 near 236th Street Southwest in
Snohomish County. The caller described the vehicle as a silver BMW bearing
Washington license plate BCZ2200. The caller observed the vehicle nearly strike several
other cars and a barrier on Interstate-5 as it traveled at speeds estimated as high as 80
miles per hour and as low as 40 miles per hour. The caller believed the driver was
intoxicated based on the erratic driving behavior.

6. As the caller followed the BMW off the interstate, the car ran a red light at
196th Street Southwest before pulling into the lot of a Chevron gas station. The driver of
the vehicle then got out of the BMW and walked into the store. Washington State Patrol
(WSP) Sergeant Arnold and Trooper Collier arrived on scene soon after and began a
Driving Under the Influence (DUI) investigation. Sergeant Arnold ran a database check
of the BMW’s license plate. The check showed that the registered owner of the vehicle,
ROBEL KELETA GOITOM, had a suspended license and was required to have an
ignition interlock device installed in his vehicle. From his position of observation,
Sergeant Arnold ‘could see the driver of the BMW as he walked back to the vehicle from
the store. He was the sole occupant of the vehicle. Based on age, height, weight, race, and
sex of the registered owner, he believed that the driver and the registered owner of the

vehicle were same person and, therefore, the driver had a suspended license.

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- 700 STEWART STREET, SUITE

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SEATTLE, WASHINGTON 98101
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7. When the driver returned to the BMW and began to drive out of the
Chevron parking lot, Sergeant Arnold initiated a traffic stop of the vehicle while Trooper
Collier assisted. GOITOM exited the BMW after being stopped. He was placed under
arrest for driving with a suspended license. Trooper Collier advised GOITOM of his
constitutional rights. He could see that GOITOM was exhibiting obvious signs of
intoxication. He had red, watery eyes and smelled of intoxicants. After stating that he
understood his rights, GOITOM agreed to take voluntary field sobriety tests. Trooper
Collier noted that GOITOM’s vehicle was not equipped with a vehicle ignition interlock
device as required by the Department of Licensing for a past DUI conviction. Sergeant
Amold also smelled the obvious odor of marijuana smoke coming from inside
GOITOM’s vehicle. °

8. Trooper Collier spoke with the individual who witnessed GOITOM’s
erratic driving and the witness verified that the officers had stopped the correct vehicle.

9. Trooper Collier transported GOITOM to the Snohomish County Jail where
he was booked for DUI, Interlock Ignition Device Violation, and Driving with a
Suspended License in the Third Degree. While at the jail, Trooper Collier applied for a
search warrant to draw blood from GOITOM. Snohomish County Superior Court Judge
Bui reviewed and approved the warrant at 3:34 a.m. A blood draw was then performed
on GOITOM and the vials were placed into evidence.

10. ._ GOITOM’s vehicle was impounded from the scene by Paulson’s Towing
Inc. It was taken to a secure location at 5001 208th Street Southwest in Lynnwood, .
Washington.

11. Kirkland Police Detective Derek Hill is currently investigating GOITOM
for credit card fraud. On February 23, 2017, he learned that GOITOM was arrested the
previous day and his vehicle was impounded. He drove to Paulson’s towing to get more
information regarding the circumstances of the impound. An employee of the tow lot
conducted a standard inventory of the vehicle while Detective Hill was at the lot.

Performing an inventory is Paulson’s Towing’s company policy to avoid claims of theft

Complaint: ROBEL KELETA GOITOM - 4 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

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SEATTLE, WASHINGTON 98101
(206) 553-7970

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and damage by persons whose cars have been impounded. While conducting this
inventory, the employee located a handgun in the glovebox of the vehicle. The employee
stopped the inventory and informed Detective Hill of his discovery. Detective Hill then
contacted ATF Task Force Officer (TFO) Gregory Tomlinson, who was working with
Detective Hill on several shooting cases in the Seattle area as well as related credit card
fraud.

12. TFO Tomlinson applied for and obtained a search warrant for the vehicle.
The warrant was signed on February 24, 2017, at 10:10 a.m., by King County Superior
Court Judge Richardson. Around 11:30 a.m., TFO Tomlinson, Detective Hill and Secret
Service Special Agent Sean Ricardi responded to Paulson’s Tow in Lynnwood to serve
the warrant on the vehicle.

13. TFO Tomlinson photographed the interior and exterior of the vehicle prior
to the search. The vehicle was then searched by Agent Ricardi, Detective Hill and TFO
Tomlinson. TFO Tomlinson located a semi-automatic pistol in the glovebox of the
vehicle. The firearm was a 9mm Springfield Armory XDM-9 pistol with serial number
MG753603. The firearm was loaded with one round in the chamber. Detective Hill ran
the serial number of the firearm and found that it was not reported stolen.

14. Also located in the glovebox of the vehicle was the vehicle registration.
The registration was in GOITOM’s name as of J anuary 19, 2017. Areceipt from -
Northgate Tow, dated January 26, 2017, was also located in the glovebox along with an
inventory and return of a search warrant conducted by the King County Sheriff's Office
on January 20, 2017. During that incident, another firearm was recovered on GOITOM’s
person and GOITOM was arrested. The January 26, 2017, tow receipt was seized as
evidence of dominion and control of the glovebox. The registration was photographed
and left in the glovebox.

15. After completing the search of the vehicle, TFO Tomlinson filled out an
inventory and search warrant return and left a copy of the warrant with the inventory and

return on the front passenger seat of the vehicle. The firearm, tow receipt and other items

Complaint: ROBEL KELETA GOITOM - 5 UNITED STATES ATTORNEY
: 700 STEWART STREET, SUITE

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SEATTLE, WASHINGTON 98101
(206) 553-7970
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of evidence were taken to the Seattle Police Department Evidence Unit for processing.
TFO Tomlinson submitted the firearm for latent print examination. The BMW was
impounded by the Kirkland Police Department per state seizure law and taken to the
Kirkland Police towing facility.

16. Onor about April 7, 2017, latent print examiner Jonathan Edmonds
informed me that two latent prints of comparison value were recovered from the
magazine of the 9mm Springfield Armory XDM-9 handgun. Those latent prints were
both identified to GOITOM’s left thumb.

II. Interstate Nexus Examination.

17. On March 27, 2017, Special Agent (SA) David Roberts, a certified
Interstate Firearms and Ammunition Nexus Expert, who has been trained in the
recognition of firearms and ammunition and their origin of manufacture, physically
examined the 9mm Springfield Armory XDM-9 semi-automatic handgun, bearing serial
number MG753603. SA Roberts determined that this firearm was not manufactured in

the state of Washington. Based upon his experience, knowledge and research, it is also

| SA Roberts’ opinion that the 9mm Springfield Armory XDM-9 handgun meets the

definition of a firearm under Title 18, United States Code, Section 921(a)(3). SA Roberts
also opined that, because the firearm was not manufactured in the State of Washington, it
therefore must have traveled in and thereby affected interstate commerce if it was
received or possessed in the State of Washington.

Hil. Goitom’s Criminal History.

18. [have reviewed GOITOM’s criminal history and confirmed that he has a
felony conviction for Assault in the Third Degree, in Snohomish County Superior Court,
dated on or about February 12, 2015, under cause number 14-1-01486-9. This crime is a
felony under Washington law, punishable by a term of imprisonment exceeding one year.
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Complaint: ROBEL KELETA GOITOM - 6 UNITED STATES ATTORNEY
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SEATTLE, WASHINGTON 98101
(206) 553-7970
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IV. Conclusion.
19. | Based on the aforementioned facts, I respectfully submit that there is
probable cause to believe that ROBEL KELETA GOITOM committed the offense of

being a Felon in Possession of a Firearm, in violation of Title 18, United States Code, |

Section 922(g)(1).
Ut OO

CATHERINE COLE, Complainant
Special Agent, ATF

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe ROBEL KELETA
GOITOM committed the offense set forth in the Complaint.

DATED this [Pr of April, 2017. .

. James P. Donohue
ief United States Magistrate Judge

Complaint: ROBEL KELETA GOITOM - 7 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
